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 8                             UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                     Case No.: 20CR1484-JLS
11
12                Plaintiff,
                                                   ORDER CONTINUING
13         v.                                      MOTION HEARING/TRIAL SETTING
14
     TIMOTHY TAYLOR,
15
16                Defendant.
17
18        GOOD CAUSE EXISTING, IT IS HEREBY ORDERED that the joint motion to
19 continue be GRANTED, and that defendant TIMOTHY TAYLOR’s Motion Hearing/Trial
20 Setting be continued from October 23, 2020 at 1:30 p.m. to November 20, 2020 at 1:30 p.m.
21 Time is excluded under the Speedy Trial Act for the reasons set forth in the joint motion.
22       IT IS SO ORDERED.
23 Dated: October 21, 2020
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